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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

BIG DOG LOGISTICS, LLP                          §
                                                §
v.                                              §           C.A. NO. 4:13-CV-01630
                                                §           (Jury Trial Demanded)
SHIPINPAX, LLC                                  §

     STATEMENT OF DEFENDANT SHIPINPAX, LLC ON REMOVAL ACTION

       Defendant SHIPINPAX, LLC files this Statement Regarding Removal Action in response

to this Court’s Order Concerning Removal, entered July 15, 2013 [D.E. 14].

1.     The date(s) on which defendant(s) or their representative(s) first received a copy of the
       summons and complaint in the state court action.

RESPONSE TO ITEM ONE:

       May 7, 2013 receipt of May 7, 2013 service by mail. On or about May 7, 2013,
       Defendant SHIPINPAX LLC first received notice of the State Court Civil Action, and
       the claim for relief on which the State Court Civil Action is based, by citation and
       petition served by mail dated May 6, 2013 on Leonard Wright, the Registered Agent
       for Defendant SHIPINPAX, LLC, by certified mail addressed to Defendant, which was
       received on or about May 7, 2013.

2.     The date(s) on which each defendant was served with a copy of the summons and complaint,
       if any of those dates are different from the date(s) set forth in item number 1.

RESPONSE TO ITEM TWO:

       Dates are not different from those set forth in item number 1.

3.     In actions predicated on diversity jurisdiction, whether any defendants who have been served
       are citizens of the state in which this Court sits.

RESPONSE TO ITEM THREE:

       No defendant is a citizen of the state in which this Court sits. At the time of
       commencement of this action, and since that time, Defendant Shipinpax, LLC was, and
       is now, a limited liability company organized under the law of Georgia whose principal
       place of business is in Atlanta, Georgia and for jurisdictional purposes is citizen and
       resident of the State of Georgia.



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4.    In actions predicated on diversity jurisdiction, the amount alleged to be in controversy and
      the basis for this information.

RESPONSE TO ITEM FOUR:

      Plaintiff alleges the amount in controversy is over $100,000. The basis for this
      information is the text of the plaintiff’s original petition, which in paragraph 2 states
      that Plaintiff “Big Dog notifies the Court and all parties that it seeks monetary relief
      of over $100,000.00, together with monetary relief.” See copy of petition, filed June 3,
      2013 together with Notice of Removal [D.E. 1-2].

5.    If removal takes place more than thirty (30) days after any defendant first received a copy
      of the summons and complaint, the reasons why removal has taken place at this time and the
      date on which the defendant(s) first received a paper identifying the basis for such removal.

RESPONSE TO ITEM FIVE:

      Removal did not take place more than thirty (30) days after any defendant first
      received a copy of the summons and complaint. The only defendant filed its Notice of
      Removal on June 3, 2013. See D.E. 1, filed June 3, 2013. Such is less than thirty (30)
      days after defendant first received a copy of the summons and complaint on May 7,
      2013.

      Dated: July 24, 2013.
                                            Respectfully submitted,



                                                /s/John H. Bennett, Jr.
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                                            SHIPINPAX, LLC




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                                  CERTIFICATE OF SERVICE

       This certifies that, on the date of this Certificate, I served a true and correct copy of the above
and foregoing Statement Regarding Removal Action on the attorneys for Plaintiff, Big Dog
Logistics, LLP, by filing on the CM/ECF System for the Southern District of Texas, upon William
B. Underwood, III, Attorney at Law, Underwood, Jones, Scherrer & Malouf, PLLC, 5177 Richmond
Avenue, Suite 505, Houston, Texas 77056, and by email transmission sent to
bunderwood@ujsmlaw.com.

        Dated: July 24, 2013.

                                                    /s/John H. Bennett, Jr.
                                                       John H. Bennett, Jr.




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